Case 1:04-cr-10074-.]DT Document 70 Filed 08/16/05 Page 1 of 2 Page|D 77

IN THE UNITED STATES DISTRICT COURT
FOR TI-IE WESTERN DISTRJCT OF TENNESSEE
EASTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

 

vs. Case No. l:O4crlOO'."4-02

CLINT WALLACE

Defendant.

 

ORDER REFUNDING CASH APPEARANCE BON])

 

This matter comes before the Court on a motion for refund of the cash appearance bond. It now appears
that the defendant has complied With the requirements of said bond and orders of this Court.

IT IS THEREFORE ORDERED that the ( $10,000/10%= $lOO0.00)appearance bond (receipt J27729)
for this defendant be cancelled and discharged, and the Clerk is directed to issue a check on the Registry in the sum

of$1000.00, payable to: Jim W. Wallace, 637 Lower Brownsville Road, Jackson, TN 3830]; in

full refund of the cash appearance bond posted herein.

    

ED STATES DISTRICT IUDGE

DATE: /é &Mj///A)/" CSIM/

Approved:

THOMAS M. GOULD, CLERK OF COURT

Deputy` Clerl<‘

This document entered
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with nme 55 and/or 32(b) FRCrP on _‘B_I_U_Jc[§m`£"ame

DISTRIC COUR - WESERNT D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
case 1:04-CR-10074 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

